        Case:18-10965-TBM Doc#:27 Filed:02/22/18                              Entered:02/22/18 22:41:01 Page1 of 3
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 18-10965-TBM
11380 SMITH RD LLC                                                                                         Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: oneillv                      Page 1 of 1                          Date Rcvd: Feb 20, 2018
                                      Form ID: pdf904                    Total Noticed: 3


Notice by first class mail was         sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 22, 2018.
db             +11380 SMITH RD         LLC,   11380 Smith Road,   Aurora, CO 80010-1406
17895306       +Henzel, Tim,           1510 Jade Road,   Columbia, MO 65201-1702
17895308        Xcel Energy,           P.O. Box 9477,   Minneapolis, MN 55484-9477

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 22, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 20, 2018 at the address(es) listed below:
              Daniel J. Morse   on behalf of U.S. Trustee    US Trustee daniel.j.morse@usdoj.gov
              Jeffrey Weinman    on behalf of Debtor   11380 SMITH RD LLC jweinman@epitrustee.com,
               lkraai@weinmanpc.com;lkraai@ecf.courtdrive.com
              Robert Samuel Boughner   on behalf of U.S. Trustee    US Trustee Samuel.Boughner@usdoj.gov
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                             TOTAL: 4
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                                     UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF COLORADO
                                        The Honorable Thomas B. McNamara


        In re:
                                                               Bankruptcy Case No. 18-10965 TBM
        11380 SMITH RD, LLC,                                   Chapter 11

        Debtor.
        ______________________________________________________________________________

                 ORDER AND NOTICE OF CHAPTER 11 STATUS CONFERENCE
        ______________________________________________________________________________

          THIS MATTER comes before the Court sua sponte. The Court has conducted a preliminary
   review of the file and has determined that a Status Conference should be set pursuant to 11 U.S.C. §
   105(d)(1). At the conference the Debtor shall:

   a)                      be prepared to inform the Court generally about the nature of the Debtor’s assets and
                 liabilities, source or sources of income, any business it conducts, and the reasons for filing
                 bankruptcy;

   b)                    be prepared to discuss generally the Debtor’s intended plan for reorganization,
                 changes in operations, insurance coverage, tax liability, restructuring of debt, use of cash
                 collateral and other matters pertinent to the Debtor’s financial affairs, business or
                 reorganization;

   c)                     as applicable, be prepared to advise the Court regarding the Debtor’s operating
                 financial projections for the period preceding the filing of a plan, a budget for the
                 professionals in the case and any particularities of the case which require resolution;

   d)                    be prepared to propose a schedule for the filing of a disclosure statement, the filing of
                 a plan of reorganization, a bar date for filing proofs of claims and objections to claims and, if
                 applicable, anticipated avoidance actions or other adversary proceedings which are critical to
                 the reorganization;

   e)                    be prepared to advise the Court whether the Debtor anticipates filing a separate
                 disclosure statement or a simply a plan that provides sufficient information that a separate
                 disclosure statement is not necessary pursuant to 11 U.S.C. §1125(f)(1);

   f)                    be prepared to advise the Court whether the Debtor is required to file the Periodic
                 Report Regarding Value, Operations and Profitability of Entities in Which the Debtor’s
                 Estate Holds a Substantial or Controlling Interest (Official Form 26) pursuant to Fed. R.
                 Bankr. P. 2015.3;
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   g)           be prepared to advise the Court as to whether the Debtor qualifies as a “small
        business” pursuant to 11 U.S.C. § 101 (51C) or whether the case is a “single asset real estate
        case” as defined by 11 U.S.C. § 101 (51B); and

   h)           if the Debtor is a “small business” pursuant to 11 U.S.C. §101 (51C), be prepared to
        advise the Court whether it has filed and will continue to file a Small Business Monthly
        Operating Report (Official Form 25C) as required by 11 U.S.C. §308 and Fed. R. Bankr. P.
        2015(a)(6);

   i)           if the Debtor is a “small business” pursuant to 11 U.S.C. § 101(51C), be prepared to
        advise the Court whether the Debtors anticipate filing a separate disclosure statement or
        simply a plan that provides sufficient information that a separate disclosure statement is not
        necessary pursuant to 11 U.S.C. §1125(f)(1);

   j)           if the Debtor is a “small business” pursuant to 11 U.S.C. § 101(51C), be prepared to
        advise the Court of any current or prospective failures to fully and timely comply with 11
        U.S.C. § 1116;

   k)   be prepared to advise the Court regarding the status of any pending motions; and

   l)          be prepared to identify any other issues that may require prompt attention of the
        Court or otherwise may be necessary to ensure expeditious and economical resolution of this
        case.

        IT IS THEREFORE ORDERED that:

   a)           The Debtor shall appear before the Honorable Thomas B. McNamara on Friday,
        March 23, 2018, at 3:00 p.m., in Courtroom E, United States Bankruptcy Court, U. S.
        Custom House, 721 19th Street, Denver, Colorado 80202, for a Status Conference. Failure of
        the Debtor to appear shall result in the setting of a hearing to show cause why appropriate
        sanctions should not be imposed for failing to appear, which sanctions may include dismissal
        of the case.

   b)   FORTHWITH, Debtor shall: (1) serve a copy of this Order on the United States
        Trustee, all creditors, other parties-in-interest, and those who have filed an entry of
        appearance and request for notice in this case; and (2) file a certificate of service
        with the Court, evidencing compliance with this Order, no later than fourteen (14)
        days prior to the scheduled hearing.

        DATED this 20th day of February, 2018.          BY THE COURT:


                                                        ______________________________
                                                        Honorable Thomas B. McNamara,
                                                        United States Bankruptcy Court Judge
